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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 15-60423-CIV-ZLOCH


  FEDERAL TRADE COMMISSION,
  et al.,

               Plaintiffs,

  vs.                                                      O R D E R

  CARIBBEAN CRUISE LINE, INC.,
  et al.,

               Defendants.
                                       /

        THIS   MATTER   is    before   the   Court   upon    State     Plaintiffs’

  Unopposed Motion For Relief From The Requirement Of Local Rule

  16.2(e) That Representatives With Full Settlement Authority Attend

  Mediation (DE 68).     The Court has carefully reviewed said Motion,

  the entire court file and is otherwise fully advised in the

  premises.

        By the instant Motion (DE 68), the State Plaintiffs ask to be

  represented at the settlement conference by the attorney for the

  State of Florida, the lead state, as well as the attorney for the

  State of Colorado. In addition, the FTC’s counsel will be present.

  The remaining State Plaintiffs ask to be permitted to appear

  telephonically.

        Accordingly, after due consideration, it is

        ORDERED AND ADJUDGED that State Plaintiffs’ Unopposed Motion

  For   Relief   From   The   Requirement     Of   Local    Rule   16.2(e)   That

  Representatives With Full Settlement Authority Attend Mediation (DE
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  68) be and the same is hereby GRANTED.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward

  County, Florida, this         4th         day of October, 2016.




                                      WILLIAM J. ZLOCH
                                      United States District Judge

  Copies Furnished:

  All Counsel and Parties of Record




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